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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 MARIAN ALSABER,

 Plaintiff,                                        Case No.: 1:17-cv-04499

 v.                                                Honorable Judge Robert W. Gettleman

 COMENITY CAPITAL BANK,

 Defendant.

              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, MARIAN

ALSABER and the Defendant, COMENITY CAPITAL BANK, through their respective counsel

that the above-captioned action is dismissed, with prejudice, pursuant to settlement and Federal Rule

of Civil Procedure 41. Each party shall bear its own costs and attorney fees.


Dated: March 22, 2018                                 Respectfully Submitted,

MARIAN ALSABER                                        COMENITY CAPITAL BANK

/s/ Mohammed O. Badwan                                /s/ J. Christopher Suedekum (with consent)
Mohammed O. Badwan                                    J. Christopher Suedekum
Counsel for Plaintiff                                 Counsel for Comenity Capital Bank
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